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2    Assistant Federal Defender
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5    Attorneys for Defendant
     CUONG THE LE
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7
8                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,                           No. Cr. S 08-449-05 WBS
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   CUONG THE LE,                                       RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable WILLIAM B. SHUBB

17
               Defendant, CUONG THE LE, by and through his attorney, Assistant Federal Defender
18
     David Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19
     Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:
20
               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
21
     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
22
     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
23
     pursuant to 28 U.S.C. § 994(o);
24
               2.         On April 8, 2013 this Court sentenced Mr. Le to a term of 46 months
25
     imprisonment;
26
               3.         His total offense level was 23, his criminal history category was I, and the
27
     resulting guideline range was 46 to 57 months;
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     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Le was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Le’s total offense level has been reduced from 23 to 21, and his amended
5    guideline range is 37 to 46 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Le’s term of imprisonment to a term of 37 months.
8    Respectfully submitted,
9    Dated: January 6, 2015                             Dated: January 6, 2015
10
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
11   United States Attorney                             Federal Defender
12
      /s/ Jason Hitt                                    /s/ David M. Porter
13   JASON HITT                                         DAVID M. PORTER
     Assistant U.S. Attorney                            Assistant Federal Defender
14
     Attorney for Plaintiff                             Attorney for Defendant
15   UNITED STATES OF AMERICA                           CUONG THE LE
16
17                                                     ORDER
18             This matter came before the Court on the stipulated motion of the defendant for reduction
19   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
20             The parties agree, and the Court finds, that Mr. Le is entitled to the benefit Amendment
21   782, which reduces the total offense level from 23 to 21, resulting in an amended guideline range
22   of 37 to 46 months.
23             IT IS HEREBY ORDERED that the term of imprisonment imposed in April 2013 is
24   reduced to a term of 37 months.
25             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
26   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
27   reduction in sentence, and shall serve certified copies of the amended judgment on the United
28   States Bureau of Prisons and the United States Probation Office.

     Stipulation and Order Re: Sentence Reduction          2
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1              Unless otherwise ordered, Mr. Le shall report to the United States Probation Office
2    within seventy-two hours after his release.
3    Dated: January 8, 2015
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     Stipulation and Order Re: Sentence Reduction      3
